Case 1:19-cr-00334-LMB Document 370-1 Filed 10/20/21 Page 1 of 24 PagelD# 1888

Dear Judge Brinkema,

My name is Fenny and | am Mr. Li's niece. | grew up basically living with my uncle and
his family since our family basically lived next door to each other. | have always known my uncle
to be a hard worker ever since | was little. Our whole family had immigrated to a country where
they had nothing and had very little financial support. So this drove my uncle to always move
forward providing for his family and loved ones, given the situation he was in. The situation was
that his father only had an elementary grade level education, therefore he couldn't get any
financial support from his father and his mother had passed away from a heart condition. Not
only did my uncle suffer one loss, but two losing his oldest brother to a car accident. Despite all
this tragedy, my uncle never stopped pushing forward. He loves my grandfather dearly, making
sure he did everything he could to guarantee that my grandfather could have an easier life. Even
if this meant working overtime in order to be able to save up for a car, my grandfather had a
reliable source of transportation. Given the situation he had, my uncle wanted a better life for his
family. He had to work two different jobs in order to provide for his family and this included his
father and siblings. | remember he had to wake up at 6 in the morning to get ready for work then
had to make sure that his kids were ready to go to school. After dropping off his kids at school
he would make his way to work which was at a chinese food restaurant, from there his duties
were to see that the place was well staffed and stocked with the supplies needed for the day.
Most of the time there was always inventory that needed to be refilled, so he would have to go
out and get the supplies himself.

My uncle had to manage the restaurant himself, alongside his second job where he had
to manage the sales of a used car dealership. But even though having these two jobs meant
that he would have to sacrifice a majority of his time, it never did stop him from spending time
with his family. The free time he did have he would make sure his kids were still able to see him
and spend time with him. Making sure his children did not only see the working side of him but
his fun side as well. He took us to the circus where we were able to see performances of the
circus actors, also being able to try out the food the circus had to offer. This was a first time
experience for both myself and his kids. There would also be a yearly carnival fair that we loved
to go to, and my uncle would take us each year. This carnival fair had all your typical attractions
and foods, but it was always the fact that he would think about us the children. Making sure that
we understood the value of working hard at school yet still be able to enjoy life and just being
kids. The events that happened to my uncle never stopped him in teaching us the true meaning
of caring for your family.

Sincerely,
Fenny Zhu
Case 1:19-cr-00334-LMB Document 370-1 Filed 10/20/21 Page 2 of 24 PagelD# 1889
October 13, 2021

The Honorable Leonie Brinkema

United States District Judge

United States District Court for Eastern District of Virginia
401 Courthouse Square,

Alexandria, VA 20314

Dear Judge Brinkema,

lam writing this letter to you to provide a character reference about Xizhi Li, | would like to introduce myself as Sammy
Ng, the brother-in-law of Xizhi Li.

When | found out my brother-in-law, Xizhi Li, broke the law severely, | felt astounded and doubted he was the one who
committed those crimes after understanding the case. | am very lost and can not believe he was the one who did such
things. | truly believe that if you give him a second chance, he can be back to his old-self,

Before you prosecute him, can | have a couple minutes of your valuable time to explain the type of person Xizhi Li is. He
helped me get past an extremely difficult time. That time was when a negligent doctor said my wife (Xizhi’s sister) did not
appear to have a beta-thalassemia trait(an inherited blood disorder disease). After a couple of times, | had mentioned
that I had that trait. The doctor did not proceed with the test on my wife, which led me to have my first newborn
baby(Wesley). A week later, my wife and | were in shock. The health department mailed us a notice, saying my son is a
beta-thalassemia major. After seeing all the medical professionals, they all said he needed blood transfusions to keep his
life going and his life span would be around 23 years old. After finding out all this information, my wife and | informed
Xizhi Li about the complications with Wesley. Without asking for anything, a month passed by. Xizhi Li told my wife that
he tested his blood type and bone marrow, but it was not a match for Wesley. He also provided my family and! with a
year of rent money so that | could put a pause to my job and take care of Wesley while my wife was settling into her new
job. Eventually, we had better insurance to cover Wesley. After the year had passed, | went back to work. My wife and |
had a plan to find Wesley an identical match for the Bone Marrow Transplant to cure his disease. My wife had no fear of
going into this situation and gave birth to my second son (Brandon) and an identical match to his little brother(Dylan) in
her high-risk age. This was what we manifested,

When Wesley was fourteen years old, it was the last window of time to do the Bone Marrow transplant. He decided to
not go through the process. He was worried about a risk on his little brother(Dylan). Wesley started to give up on himself.

During that time, my wife, Xizhi Li, and the school principal encouraged him, Finally, he graduated from high school. Now
Wesley received a letter to become a part of the President's list at his community college. Next year, he plans on applying

to a nursing program because he wants to give back te the people and inform younger kids about his unique situation,
and inspire those that are facing the same struggles Wesley has fought through.

In this 21 year relationship with Xizhi Li, as a family, we are very appreciative of the things he has done for us.

| hope my story can give you an idea of Xizhi Li's generous and selfless personality. | believe that his good intentions and
his thoughtfulness have come a long way to help our family, Without his help, we would not know where we would be
today.

$

incerely,
<_ EY

Sammy Neg
Case 1:19-cr-00334-LMB Document 370-1 Filed 10/20/21 Page 3 of 24 PagelD# 1890

October 13,2021

The Honorable Leonie Brinkema,

United States District Judge

United States District Court for Eastern District of Virginia
401 Courthouse Square,

Alexandria, VA 20314

Dear Judge Brinkema,

The honorable Judge Brinkema I am writing this letter to you to provide a character reference
about Xizhi Li.

I would like to introduce myself as Wesley Ng, the nephew of Xizhi Li, I provide this reference
in full knowledge of Xizhi Li’s charges.

I have known my uncle, Xizhi Li, since I was a child. I would spend time with my uncle when I
was on summer break and we would visit him. One of my fondest memories shared with him
was that he always made sure that my brother and I never had an empty stomach. He would
make sure that we were always satiated. Whenever my family would visit, my uncle would
provide us with amazing hospitality, making sure all the families felt like they were at home, and
were having fun, enjoying their vacation, Lastly, he would take me, my brother, and all my
cousins to places of entertainment to keep us occupied, while my aunts and uncles could enjoy
their vacation to the fullest. These memories were from my childhood, but as I grew older, I
became aware of the true scope of his generosity. He is a very generous, kind, and hard-working
person.

I hope this letter will give you an idea of his good character and help give him a second chance.

Sincerely,

 
  

Wesley Ng
Case 1:19-cr-00334-LMB Document 370-1 Filed 10/20/21 Page 4 of 24 PagelD# 1891

The Honorable Leonie Brinkema

United States District Judge

United States District Court for the Eastern District of Virginia
401 Courthouse Square

Alexandria, VA 20314

Dear Judge Brinkema,

| am writing this letter to help you see what kind of person Mr. Li is, despite the
transgressions that led us to this point. | have known Mr. Li as an Uncle and father figure
for my whole life, and in that time, | have seen many aspects of Mr. Li’s personality. And
so when | heard about this, | felt that this was very out of character for him. On the other
hand, | have always found him highly kind, dependable, and well regarded among his
peers and family.

In our relationship, he has always been there for me, especially during a challenging
time | was going through in school and life. However, he made it a point to be there and
show a significant amount of support during the sudden changes | had in my life during
my teenage years. During my high school days, | wasn’t attending school and would
always skip school and hang out with the wrong crowd. My uncle would always push me
to get back to the right path and to do better because he wanted me to have a better
future. Besides being a good uncle, he was also a family man, and he was a good family
man. He was a loving father and husband who provided everything and much more for
his wife and four children. He was there for every step of his children’s life and
milestone. He never missed a birthday call or a call to congratulate them on their
achievements. My uncle was a camaraderie person.

The transgression of the crime should not be the only factor you look at in this case. |
hope you will also see his strong commitment to his family. | can tell you without a doubt
that my uncle feels incredibly remorseful for what he has done. He had expressed this
many times, and | believe it will reflect on making amends for any wrongdoings and
would never do it again. It is my sincere hope the court considers this letter at the time of
the sentencing. Despite the current case, | still believe Mr.Li to be an honorable
individual, a loving husband, and family, but overall a good human being.

Sincerely,

William Zhu
Case 1:19-cr-00334-LMB Document 370-1 Filed 10/20/21 Page 5 of 24 PagelD# 1892

Dear Judge Brinkema,

My name is Fenny and | am Mr. Li's niece. | grew up basically living with my uncle and
his family since our family basically lived next door to each other. | have always known my uncle
to be a hard worker ever since | was little. Our whole family had immigrated to a country where
they had nothing and had very little financial support. So this drove my uncle to always move
forward providing for his family and loved ones, given the situation he was in. The situation was
that his father only had an elementary grade level education, therefore he couldn't get any
financial support from his father and his mother had passed away from a heart condition. Not
only did my uncle suffer one loss, but two losing his oldest brother to a car accident. Despite all
this tragedy, my uncle never stopped pushing forward. He loves my grandfather dearly, making
sure he did everything he could to guarantee that my grandfather could have an easier life. Even
if this meant working overtime in order to be able to save up for a car, my grandfather had a
reliable source of transportation. Given the situation he had, my uncle wanted a better life for his
family. He had to work two different jobs in order to provide for his family and this included his
father and siblings. | remember he had to wake up at 6 in the morning to get ready for work then
had to make sure that his kids were ready to go to school. After dropping off his kids at school
he would make his way to work which was at a chinese food restaurant, from there his duties
were to see that the place was well staffed and stocked with the supplies needed for the day.
Most of the time there was always inventory that needed to be refilled, so he would have to go
out and get the supplies himself.

My uncle had to manage the restaurant himself, alongside his second job where he had
to manage the sales of a used car dealership. But even though having these two jobs meant
that he would have to sacrifice a majority of his time, it never did stop him from spending time
with his family. The free time he did have he would make sure his kids were still able to see him
and spend time with him. Making sure his children did not only see the working side of him but
his fun side as well. He took us to the circus where we were able to see performances of the
circus actors, also being able to try out the food the circus had to offer. This was a first time
experience for both myself and his kids. There would also be a yearly carnival fair that we loved
to go to, and my uncle would take us each year. This carnival fair had all your typical attractions
and foods, but it was always the fact that he would think about us the children. Making sure that
we understood the value of working hard at school yet still be able to enjoy life and just being
kids. The events that happened to my uncle never stopped him in teaching us the true meaning
of caring for your family.

Sincerely,
Fenny Zhu
Case 1:19-cr-00334-LMB Document 370-1 Filed 10/20/21 Page 6 of 24 PagelD# 1893

To

The Honorable Leonie Brinkema

United States District Judge

United States District Court for the Eastern District of Virginia

Date: October 8th, 2021
Your Honor,

My name is Sherman Li and I am the third oldest child of Xizhi Li. lam currently a full-time
college student and I’m still trying my best to process all of this. My father has always been
supportive of my family and has always wanted the best for all of my siblings and me. I am
writing this letter to you in hopes of leniency towards my father.

Growing up with my 3 other siblings and being raised by a single mother wasn’t the best
experience. I remember clearly in the first grade that it was picture day and most kids had their
fathers with them to take some pictures, I was devastated as I waited... and waited for my father
to show up. I used to despise my dad but that was before I knew better. He’s always been a hard
worker, especially since he came from nothing. He grew up on a rural farm village with his 3
other siblings. My siblings and I have been told over and over again that our father left his
village at the early age of 12 to go work in a distant city to provide for the family. This image has
been drilled into our heads that we have to always stick with our family and help them through
the toughest times.

My father has taught me so many life lessons that I hold dear to this day. Because of him, I
decided to volunteer at my local hospital, I was taught to help those in need and I thought that
volunteering at a hospital is the least I could do. He inspired me to pursue higher education, I
would hate to ruin throw away the opportunities that he has provided for my siblings and me. My
father, Xizhi Li, is not a person with ill or malicious intentions, He is a loving and generous
family person that will help those in need.

Thank you for your consideration and your time, Honorable Leonie Brinkema

Sincerely,
Sherman Li
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Addressed to:

The Honorable Leonie Brinkema

United States District Judge

United States District Court for the Eastern District of Virginia
401 Courthouse Square

Alexandria, VA 20314

Dear Judge Brinkema,

I, Jason Zhu, am nephew of Xizhi Li. My uncle has been present and active throughout my
childhood. I am aware of the charges that he is being convicted of conspiracy to commit money
laundering, in violation of 18 U.S.C. § 1956(h). Despite the fact he is being convicted, seek to
understand my uncle’s nature and personality. Xizhi Liis a type of person that will take care of
our family first before his own well-being. He would sacrifice his time to help our family. There
was this event, when my whole family went to China for vacation about a decade ago. He
provided money for the village that he grew up in. In addition, provided entertainment in the
village and feasts for everyone to enjoy. The smiles of everyone in the village will always be
implemented in my memories. Reminiscing about this past event, makes me truly believe he is a
generous and warmhearted human being.

In fact, my uncle is twice the amount of generous and warmhearted human being. Years ago,
there was a grief and sorrowful time. My uncle lost his brother from a horrible accident.
However, my uncle has an obligation to help and support his brother’s wife and son. It’s an
orthodox action as a human being, father, and a brother to support his loved ones. Throughout
the years, he’s been supporting financially the wife and son. My uncle is a good father, brother,
and son to his family. His priority is to be sure well provided for and taking care of.

Judge Brinkema, please and kindly understand my uncle’s nature and personality.

Sincerely,

Jason Zhu
Case 1:19-cr-00334-LMB Document 370-1 Filed 10/20/21 Page 8 of 24 PagelD# 1895

Xi Zhi was not only the breadwinner but also the moral support for his elderly father. Hisfather
had major brain surgery not long ago. He is really in need of Xi Zhi's care and company, and the
children also need him.

Your Honor, | have talked so much about Xi Zhi with you, and | suddenly feel a sense of
unknown kinship with you, although | have never met you before!

Your Honor, your decision is very, very important to Xi Zhi and his family! We sincerely request
Your Honor to give Xi Zhi a chance to let him go home soon! There is no perfect person in the world,
and Xi Zhi is by no means a saint.

Your Honor, please show forgiveness and mercy! Let Xi Zhi go home soon!!!

May God bless you and your family to be healthy, blessed, and happy forever!

JUAN LAN ZHEN
10-8-21
|, Ada Chan, hereby certify that | am a native Chinese speaker, and | am fluent in Chinese. | certify

that | accurately translated the attached document from Chinese to English.

 

Ada Chan
 

 

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The Honorable Leonie Brinkema

United States District Judge

United States District Court for the Eastern District of Virginia
401 Courthouse Square

Alexandria, VA 20314

Dear Judge Brinkema,

My name is Stephanie Li, the youngest and only daughter of Xizhi Li. I’m a 15 year old
sophomore at a High School in California. Throughout my life, I’ve never seen much of my dad. I was
raised with three older brothers and a single mother who scrambled to get all the kids in the car before
7:45 am. Nonetheless, I was raised with love. However, there was always an empty feeling, a sting of
jealousy whenever I saw my classmates talk about going to the annual father-daughter dance; A wince of
pain whenever I went to friend’s house and was greeted by a man with a gentle smile who gave the
coziest looking hugs to my friend. In a way, I resented my dad for never showing up to all the “bring your
parents to school days” or giving me a tight embrace when I was sobbing over the student body election.
All of my pent up bitterness blinded me from the small things that I had taken for granted. There was
always food on my table, a nice roof over my head, a warm bed to sleep in, and the annual trips my dad
would plan to catch up with my family. The 20 minute phone calls dad would make to ask about my
grades, what I did that day, the things I ate, and all the I love yous he’d firmly say. It’s through my father’s
sacrifices, that I realize now how privileged I am to have such a caring and generous father. He sacrificed
his whole life just for me to get a good education and live in one of the most prestigious communities in
California. I recognize my dad’s selflessness and appreciate all that he has done to keep my family afloat.
It’s because of him that I'm taking AP courses, going to Universal Studios in my free time, and have an
untameable ambition that I’m sure and he’s sure it’ll change the world someday.

Recently, I told my dad that I wanted to major in political science in college and maybe pursue a
government related job. Despite being in a tough position, his attitude remained the same as it always had.
He told me that he was so proud of me and was even encouraging of my career choice. He said there were

many powerful and successful women of color in high government positions like Kamala Harris or
Case 1:19-cr-00334-LMB Document 370-1 Filed 10/20/21 Page 14 of 24 PagelD# 1901

Alexandria-Ocasio Cortez, and he couldn’t wait to see me up there along with them someday. My father
has always been encouraging in whatever I wanted to pursue, from professional ballerina to California
CongressWoman, he just wanted me to be happy. I am aware that my dad has made some mistakes, but I
know for a fact that he is a person willing to change for the better when given the opportunity. In my
memories, he’s the “cool dad” who'd do the craziest of things to make his children laugh and have no
financial limitation when it came to entertainment or education for his youngsters. He’s only taught me to
know what I want and keep driving at it until I achieve my goals. I am Stephanie Li, born to an immigrant
family, first generation american, and I’m going to be a United States CongressWoman some day.

In the far future, I hope to see my dad in the bleachers of the San Anita Race track in 2024, crying
tears of joy as he watches his little girl walk up the stage as the speakers announce “Stephanie Li, gold
seal.” I can’t help but hope to scan for his proud smiling face in the crowd as I give my inauguration
speech on January 3rd, 2036. I implore you, your Honor, to see my father the way I see him; a loving

father who is willing to do anything for his family and keep his little girl happy. Thank you for your time.

Sincerely,

Stephanie Li.
‘Case 1:19-cr-00334-LMB Document 370-1 Filed 10/20/21 Page 15 of 24 PagelD# 1902

Your Honor:

Here | submit this letter in support of Zhi Li. Greetings, Your Honor! | am the mother of Xi Zhi
Li's four children. My name is JUAN LAN ZHEN. | have known Xi Zhi Li for more than 30 years and |
know him very well.

Xi Zhi is a very responsible and accountable person. He respects the elderly, loves the little
ones, values his relatives and friends, and is a very good son to his parents. He is also a kind and
generous person.

| remember in the year 2007, he went back to the countryside (in China) to clean the
headstones in the cemetery on Tomb-Sweeping Day. He heard that the place whether the elderly
people gather to socialize n in the countryside was going to shut down, he immediately bought it
back and donated it to the elders. At the same time, he paid to build a pavilion, so that the old and
young folks in the countryside could have a place to socialize.

When Xi Zhi lived in Mexico, he often helped folks who didn't speak the language well. At the
same time, he also supported those poor children. He is a gentleman and a good person who
genuinely likes to help others.

Xi Zhi is very good to his parents. He spent a lot of time with them, asking how they are doing,

and he always provided for his parents financially. Now, Xi Zhi’s father is 80 years old father. He
eagerly awaits his son to come home.

Xi Zhi also pays great attention to his children's education. | He often made phone calls with
our children, chats, and even tutored them. Before he was incarcerated, he paid for all our living

expenses and tution for the children. At the same time, he also financially supported his old

father.
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The Honorable Leonie Brinkema
United States District Judge
United States District Court for the Eastern District of Virginia

401 Courthouse Square
Alexandria, VA 20314

Dear Judge Brinkema,

My name is Susan Lee and I am the daughter of Mr. Li. I am currently a student enrolled at West
Coast Ultrasound Institute School of Medical Imaging where I am studying towards the degree in
Diagnostic Medical Sonography. I am aware that my Father is being charged with money
laundering. My Father is a considerate person to my siblings and myself, he is a caring son as
well who has always looked after my grandfather’s needs and health problems. He is an attentive
person to his siblings, helps them in any way possible and never leaves them fending for
themselves when they need a hand. The offense is out of character of Mr. Li because not once in
my lifetime have I seen him do any crime related actions, in fact, he is always encouraging my
siblings and I to study and work hard to establish a career and how taking the right path is
important in life to succeed because at the end life will reward you with something greater. I
highly doubt my Father will violate the law in the future because he is not the type of person to
repeat his mistakes especially after going through the hardships of being separated from his
family and children, My Father is and has always been a hard worker from a young age working

at a food market to cleaning tables at restaurants and so on to help his parents with expenses and

to buy school supplies for himself. Since I can remember he has always provided for my siblings
and I, he made sure we had food on our table, a roof over our heads and clothes on our back. Not

once has my father failed to give us what we need and the love of a father. I know this
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experience has taught my father Mr. Li various lessons like remembering his values and the
values he has taught his children which is to always take the honorable path and to transform this
situation into bettering himself and his decisions, this is just a bitter experience in his life. My
Father has donated and given back to those in need in a community, an example of this is when
an earthquake hit Baja California with a magnitude of 7.2 in 2010 leaving people homeless and
jobless with no food, my father took food dispense and donated money. Mr. Li is not the type of
person to harm others or himself if a mistake is made, he is a self motivated person who only
looks towards becoming a better person than before and reflecting on his mistake to make that
happen. My Father has shown remorse as a result of this case but tries to hide it from my siblings
and me, he always tries to have a positive attitude and tone when speaking to us to make us feel
that everything will be okay but there are times where we catch those unhappy moments on

video call and all I want to do is hug my father again. A mistake like this one does not describe

who my father is.

Sincerely,

Susan Lee
 

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September 25, 2021

The Honorable Leonie Brinkema

United States District Judge

United States District Court for the Eastern District of Virginia
401 Courthouse Square

Alexandria, VA 20314

Your Honor:

My name is Elizabeth Yoshimura and | am a registered nurse in the intensive care unit. | am the
niece of Xizhi Li and | have known him for 33 years. | have always known him to be a caring,
generous and devoted family man. Although he has been found quilty of crimes of conspiracy to
commit money laundering, I'm writing to you in hopes of leniency.

My uncle, Xizhi, has always taught me to take care of our family. Growing up in China they had
nothing but each other. They grew up in a small rural farm village with little to eat each day. Both
their parents were farm workers with no education or hope of a better future. With a lot of hard
work and perseverance they were able to get to the United States for a better future. Those
lessons have been passed down to me by my uncle. My uncle always reminded us of the
important gift that is family. During hard times you will always have each other to get you
through it. Everything he does is for his family and for the betterment of their future. He is
extremely devoted to his family and their future.

XiZhi also taught me to be generous. and caring for those in need. That is why | became a
nurse. He inspired me to do better and make a differance in the world. He was the one that
taught me at a young age that there is always someone else that is less fortunate. Due to his
upbringing he always lent a helping hand to anyone who needed it. It did not matter how well
you knew him. He always helped if he could. He is truly one of the most generous and caring
people | know. | would not be the person I’m now without his guidance.

| can say for a fact that my uncle, Xizhi, is not a bad or maticious person. | can only hope that

you will grant some leniency to him and his family. | know he will make amends and has leamed
from his mistake. Thank you for your consideration.

els Yohinuea

Elizabeth Yoshimura

 
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The Honorable Leonie Brinkema

United States District Judge

United States District Court for the Eastern District of Virginia
401 Courthouse Square

Alexandria, VA 20314

Dear Judge Brinkema,

My name is Stephen Lee, and | am the oldest son of Xizhi Li. | am aware of the charges
of conspiracy to commit money laundering (Violation of 18 U.S.C. § 1956(h) against my father. |
am writing this letter in hopes that you please consider granting leniency when laying judgement
on my father’s case.

Growing up, | always thought | had the coolest father in the world. Albeit, he was absent
for most of my childhood and adolescence for reasons | did not understand till | got older. He
had started working at a very young age to support his parents, and later me and my three other
siblings. He’d worked various jobs from being a truck driver to being a waiter. So, he never
really had any time to spend with us. But when he did he would make us feel like the luckiest
kids in the world by taking us to play go-carts or to the track to watch car races.

When we moved to Los Angeles, my father became more absent as a result of the new
restaurant that he opened up. Out of us 4 kids, my father spent the least time with our two
younger siblings, Sherman and Stephanie. This is because he’d left California not too long after,
but he remained supportive of us, financially and emotionally. He had pushed us to pursue any
career we wanted. He promised to help with my tuition, all | had to do was choose what path |
wanted to take. This promise was fulfilled when | attended and graduated from the University of
San Francisco.

In his lifetime, my father has done countless good deeds for others, not restricted to just
our family. Many of them were never made known to us by him, but rather the people around
him. He'd always help those in need, whether it was financially or by helping them find work.
One instance that | will always remember is when his worker Tony passed away abruptly, my
father provided his family with financial and moral support. He was never one to brag to us and
had always stressed to us the importance of working hard and to always be good to everybody.

Even throughout this ordeal, he still has not spoken much about his case as he does not
want to get anybody else involved. | truly believe that my father has definitely been humbled by
this whole ordeal. Please do not deny my father a chance of redeeming himself. He may have
had a lapse in judgement, but this was certainly out of character. But it was definitely in his
character to be that trusting of others.

| have been told countless stories from family members still in Mexico about the scary
things that go on there. I've heard of relatives or family friends being kidnapped for ransom or
killings for no other reason than meeting the wrong people. Being such a renowned
businessman there, my father was bound to run into unsavory characters whether intentionally
or not. He himself was the victim of a failed assassination attempt a few years back. | am not
making an excuse for him, but rather am trying to broaden your perspective on some odd
coincidences that can happen.
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My father has worked hard throughout his life to provide a better life for his parents and
his children. He may have taken the wrong path, but he had always had the right intentions and
his family in mind. | plead with you your honor to please have mercy on my father, as | hope that
when my father comes out, he still has a life to live and a life where | can repay him for all the
sacrifices he has made for us to live a better life. Thank you for your consideration.

Sincerely,

S Tephen Ae
Stephen Lee
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The Honorable Leonie Brinkema

United States District Judge

United States District Court for the Eastern District of Virginia
401 Courthouse Square

Alexandria, Va 20314

Dear Judge Brinkema,

My name is Kevin Lee, J am a third year student at the University of California, Riverside,
majoring in Political Science and my father is Xizhi Li. I want to start off by saying that
throughout my life, my dad has been a very thoughtful and giving person to my family and I. Just
as he has shown to be a caring and loving dad towards us, he has shown to be a kindhearted
individual towards others by dedicating time to those around him as well. My Father is a
productive member of society because he is always looking to help others in any type of way
whether it is helping those in need or just simply being respectful to others. I believe that he will
be a better and productive member of society after his experience is over because one mistake
doesn’t define him, but just an error that was committed along his path, therefore, I know that my
Father will correct his wrongs along the rest of his journey. The offense is indeed out of character
because not once in my life had I seen my Father have relations to any crime. It’s very unlikely
he will violate the law in the future because he experienced what it is like to not be able to see
his family and how much this one mistake will affect his life afterwards.

My Father has always been a hard worker because since he was around my little sister's age
(Michelle, ten years old), he worked bagging groceries at a market, washing dishes at a local
restaurant, and always helping out his parents in any way possible. This experience has taught
my Father many lessons. Some of these lessons consist of not breaking the law at any cost, using
your time wisely amongst productive activities, and making important decisions in life.

Furthermore, My Dad is the type of person to process and reflect on things if he makes a
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as a result of this incident, however, every single time he calls my siblings and I, he always tries
to have a positive and happy tone even though we can sense his sadness. Overall, My Father
always tries to hide his feelings to not make us feel bad, so instead we keep ongoing
conversations about how our day was and future plans, looking forward to the day he is a free
man and I am able to hug him again as well as spend time with my father just how we used to do,

Deep down I know that my Dad is a good man and a mistake like this definitely does not define

him.

Best regards,

Kevin Lee
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October 12, 2021

The Honorable Leonie Brinkema

United States District Judge

United States District Court for Eastern District of Virginia
401 Courthouse Square,

Alexandria, VA 20314

Dear Judge Brinkema,

1 am writing a character reference for my reference for my younger brother, Xizhi Li, who is pleading
guilty to the charges of “Conspiracy to commit money laundering.”

Our entire family was taken aback at the news of my brother having committed money laundering. He has
never been the type of person to do anything that would cause our parents any significant disappointment,
As Xizhi’s second sister, I lived closely with him growing up and I can say that he is hardworking and
always led a very positive lifestyle; my brother is a kind, generous, responsible, and dedicated brother,
father, and son.

My parents brought him to Mexicali, Mexico at the age of 11 years old. He was a full-time student while
also working full time at a restaurant as a busboy. From Monday through Friday, right after school, he
would start work 1:00 PM to 10:00 PM at night. On the weekends, he would work from the opening of
the restaurant to closing. My brother is the most hardworking and responsible person I know.

Not only did my brother Xizhi Li work hard to provide for our family, he is gencrous as he gave back to
the community, During his time in Mexicali, he became a volunteer of the Chinese Consolidated
Benevolent Association, translating for new immigrants. On top of that, he would pay the tuition for the
immigrant’s children to receive an education.

Xizhi Li’s acts of kindness does not stop there. In 2006, when my family returned to China for Chinese
Memorial Day, the leader of the village we used to live in notified us that the Chinese Communist
Government planned to demolish the senior housing center. Upon hearing this news, my brother
immediately purchased another lot of land and constructed a brand new senior housing center. At the
time, he funded the renovation of our village, transforming the muddy land into streets.

Tam confident that this incident will never happen again and that Xizhi Li will learn his lesson, using this
as an experience from here onwards. Everyone deserves second chances, especially someone of such a
great character like him. Our entire family loves Xizhi and we continue to support him and wish him the

best outcome for this case.

Thank you for your time and consideration.

Sinceyel

  
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The Honorable Leonie Brinkema

United States District Judge

United States District Court for the Eastern District of Virginia
401 Courthouse Square

Alexandria, VA 20314

Dear Judge Brinkema,

My name is Rose Lee, and | am Mr. Li’s older sister. | want to start this letter off by
saying this has not been an easy year, not that we expected it to be Your Honor, Mr. Li asked
me kindly if | could write a character letter, but the truth is | was already planning on doing so
before asking me. | sincerely feel very concerned about the well-being and the future of Mr. Li,

and my intention is to try to make you and the jury see my point of view on why many people
love him.

| have known my little brother my whole life and is the total opposite of what others might
think he is. He is respectful, outgoing, kind-hearted, and very hard working. We came from a
family that didn’t have much when we came to America. Me and my three siblings, with me
being the oldest, | felt that | always needed to be the one who took care of my three little siblings
since my parents would always be working day and night. With that being said, | was always
close to my three siblings, but | was the closest to my little brother. Growing up, he knew what
he wanted to do in life and what his goals were. He was very independent, but being the older
sister, | always wanted the best for him. He was a very hard worker and very caring. He would
always wake up early and set up breakfast for our family before going to work at a shoe store
for 7 dollars an hour for the rest of the day. Whatever little money he had he would always
provide it for his siblings first before himself. It would feel like sometimes that my brother was
acting more of a bigger brother than a little brother which showed how mature he was. Before
my brother was incarcerated, he would always check up and ask how everyone was doing, and
go above and beyond with what was necessary to take care of the family and also his family.

Certainly, my brother has made some mistakes, of which | am convinced that he is very
sorry for which he will be fully prepared to repair, as best he can, all the financial and emotional
damages that his actions may have been caused around him. But this will only be possible if
this justice system and all of us give a new opportunity to him because we recognize that he

could have broken the law. | am sure that you know the power that the decision that you can
take on the life of this man and | can take a wise disposition.

Sincerely,

Rosa Lee
